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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



   STATE OF NEW JERSEY,

                     Plaintiff,                     Civil Action No. 23 Civ.

                    v.                              03885

   UNITED STATES DEPARTMENT OF                       Hon. Brian R. Martinotti
   TRANSPORTATION, FEDERAL HIGHWAY
   ADMNISTRATION, SHAILEN BHATT, in his
   official capacity as Administrator of the Federal
   Highway Administration, and RICHARD J.
   MARQUIS, in his official capacity as Division
   Administrator of the New York Division of the
   Federal Highway Administration,

                     Defendants.


      BRIEF OF AMICI CURIAE EMPOWERNJ, NEW JERSEY POLICY
   PERSPECTIVE, HEALTH PROFESSIONALS & ALLIED EMPLOYEES,
    CLEAN WATER ACTION, TURNPIKE TRAP COALITION, HUDSON
       COUNTY COMPLETE STREET, SOMA ACTION, UNITARIAN
     UNIVERSALIST FAITH ACTION NJ, PINELANDS PRESERVATION
    ALLIANCE, BIKE NORTH BERGEN, ECOPOETRY.ORG, DON’T GAS
   THE MEADOWLANDS, ISLES, INC, BIKEJC, SAFESTREETSJC, 350NJ-
       ROCKLAND, HACKENSACK RIVERKEEPER, PEOPLE OVER
   PIPELINES, FUND FOR A BETTER WATERFRONT, NEWARK GREEN
         TEAM, ACTION TOGETHER NEW JERSEY, NEW JERSEY
    ASSOCIATION OF RAILROAD PASSENGERS, BLUEWAVENJ, BIKE
       SOMA, NEWARK SCIENCE AND SUSTAINABILITY INC., OUR
     REVOLUTION NJ, BICI UC, FRIENDS OF LIBERTY STATE PARK,
      NEW JERSEY ENVIRONMENTAL LOBBY, NEW JERSEY WORK
   ENVIRONMENT COUNCIL, NEW JERSEY CITIZEN ACTION, SOUTH
     WARD ENVIRONMENTAL ALLIANCE, NEW JERSEY WORKING
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         FAMILY PARTY AND BIKE HOBOKEN IN SUPPORT OF
       DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT

                                     John H. Reichman
                                     Johnreichmanlaw LLC
                                     56 Oakwood Avenue
                                     Montclair, NJ 07043
                                     917.626.8025
                                     John@johnreichmanlaw.com
                                     (Bar ID # 003981983)

                                     Attorneys for Amici Curiae
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                            INTEREST OF AMICI CURIAE

         Amici Curiae (“Amici”) are 34 New Jersey environmental, labor,

  transportation, faith, and community groups, encompassing many of the leading

  advocates for the environment and public health in the State.1 Amici are uniquely

  qualified to provide a New Jersey environmental voice and perspective to the

  filings in this action.

         Amici strongly support the Manhattan Central Business District (“CBD”)

  tolling program (“Tolling Program”) and oppose the attempt by Plaintiff State of

  New Jersey to derail congestion pricing on environmental grounds. This brief

  focuses primarily on two reasons why the Court should grant Defendants’ cross-

  motion for summary judgment, deny Plaintiff’s motion for summary judgment and

  allow the Tolling Program to go forward expeditiously.2 First, the Tolling Program

  will have enormous environmental benefits for both New Jersey and the entire

  New York City metropolitan area. Second, the positions Plaintiff is taking in this

  action directly conflict with its positions regarding its $10.7 billion plan to expand

  the New Jersey Turnpike. Plaintiff should not be permitted to have it both ways: to

  claim that no environment impact statement is required for a massive highway


  1
    A list of the Amici Curiae with a short description of each organization is set
  forth in the appendix to this brief.
  2
    Amici are submitting this brief simultaneously with the brief being submitted by
  Environmental Defense Fund et.al. (the “EDF et.al. Amicus Brief”) and fully
  support and incorporate by reference the arguments made therein.
                                             1
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  expansion project in a dense urban area that will increase greenhouse gases and

  pollution and disproportionately affect overburdened communities, yet allege in

  this action that the Tolling Program, with its undeniable environmental benefits,

  needs heightened environmental scrutiny.

                           SUMMARY OF ARGUMENT

        The Tolling Program is in the best interest of New Jersey and particularly

  New Jersey residents who commute regularly into the CBD (“Jersey Commuters”)

  for eight reasons:

      The vast majority of Jersey Commuters, more than 75%, use public
       transportation. The Tolling Program will improve their commutes without
       any cost to them.

      Almost 50% of Jersey Commuters use public transportation once they arrive
       in the CBD and would directly benefit from improvements in public
       transportation in New York.

      All Jersey Commuters, including drivers, have to breathe once they arrive in
       the CBD. They will be breathing cleaner air whenever they walk and
       wherever they work.

      For those who choose to continue to drive into the CBD, the Tolling
       Program will result in better and faster commutes and faster travel and easier
       parking once they get there. For many drivers, these benefits will outweigh
       paying a toll.

      Congestion pricing will improve air quality in New Jersey as a whole. There
       are environmental impacts on New Jersey as Plaintiff alleges, but they are
       overall positive, not negative.

      Congestion pricing will help New Jersey meet its goal of reducing
       greenhouse gas emissions (“GHGs”) by 50% by 2030.



                                           2
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      New Jersey companies would likely receive more than $1 billion of the
       additional revenue generated by the Tolling Program.

      NJ Transit is in perilous financial condition, facing a nearly $1 billion
       revenue shortfall in 2026. The Tolling Program will incentivize the use of
       public transportation and provide much needed revenue for NJ Transit.

        Plaintiff cannot get its story straight about what the effects of the Tolling

  Program will be. Early in its brief, Plaintiff states that the program is “intended to

  encourage public transit” and that “New Jersey will have to incur additional

  transit-related capital costs to accommodate increased ridership caused by the

  scheme.” (Br. at 4). Later, it argues that the Tolling Program “may actually

  disincentivize transit use and increase vehicles in New Jersey.” (Id. at 16).

        Both things cannot be true. The reality is that the Tolling Program will

  discourage private vehicles from driving into the CBD and encourage greater use

  of public transportation. This will be a win-win-win for New Jersey by reducing

  GHGs, pollution, and traffic congestion; increasing revenue for NJ Transit. and

  making the lives of the vast majority of Jersey Commuters better. That is why there

  is substantial support for congestion pricing in New Jersey.

        Plaintiff’s legal positions in this action directly conflict with positions it is

  taking regarding the $10.7 billion plan by the New Jersey Turnpike Authority

  (“NJTA”) to expand the 8.1-mile Newark Bay Hudson County Extension

  (“NBHCE”) of the New Jersey Turnpike (the “Turnpike Expansion”). The NJTA

  is a State agency under the control of the Governor.

                                             3
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        This huge project will increase vehicle miles travelled (“VMT”) GHGs, and

  pollution; alter traffic patterns; lead to even more traffic on local Jersey City

  streets; and disproportionately impact environmental justice communities. It is

  going forward without any public input and over the vehement opposition of public

  and local officials. Nonetheless, NJTA and Governor Murphy hypocritically

  contend that no environmental impact statement is required for the Turnpike

  Expansion and that they have no obligation to get public input, consult with public

  officials, or consider alternatives to reducing traffic congestion. None of these

  positions, and others that NJTA is taking regarding the Turnpike Expansion, can be

  reconciled with New Jersey’s contentions in this action.

        Plaintiff’s conflicting positions regarding the Tolling Program and the

  Turnpike Expansion turn the purpose of the National Environmental Policy Act

  (“NEPA”) on its head. Plaintiff seeks to stop a project with undeniable

  environmental benefits on procedural grounds while trying to preclude full

  environmental review of a massive construction project that will negatively impact

  the environment for generations. The unbridgeable gap between New Jersey’s

  positions in this action and those on the Turnpike Expansion demonstrate that

  Plaintiff is not acting out of true environmental concerns.




                                             4
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                                     ARGUMENT

      I.        CONGESTION PRICING WILL BENEFIT NEW JERSEY AND
                JERSEY COMMUTERS PARTICULARLY

           Congestion pricing will benefit New Jersey generally and Jersey Commuters

  particularly in the following eight ways.

           A.     The Vast Majority of Jersey Commuters Use Public
                  Transportation and Would Benefit from Congestion Pricing

           There are more than 400,000 Jersey Commuters. The vast majority of them,

  more than 75%, use public transportation to get to the CBD.3 Those commuters

  would not pay a congestion pricing toll and with fewer private vehicles on the

  road, bus commuters would have shorter and less polluted commutes.

           A granular study by the Tri-State Transportation Campaign (“TSTC”)

  examined how congestion pricing would affect the twenty-one legislative districts

  in New Jersey with the most Jersey Commuters.4 Collectively, in all the districts

  surveyed, only 1.6% of all workers would pay the congestion toll. Drivers are also

  more affluent than public transportation users with an average median salary of

  $107,996. It is also worth noting that the current toll structure recommendations,

  awaiting final approval, call for a deep discount, 50%, for lower income drivers.5


  3
    U.S. Department of Transportation, Federal Highway Administration, Central
  Business District (CBD) Tolling Program Final Environmental Assessment
  (“EA”), August 2023 p. ES-2.
  4
    https://tstc.org/nj-fact-sheets/
  5
    https://www.northjersey.com/story/news/transportation/2023/12/06/mta-
  approves-congestion-pricing-toll-for-manhattan/71826462007/
                                              5
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         This is what the TSTC data shows for Bergen County, the principal focus of

   Plaintiff’s motion for summary judgment. Under the 2023 legislative map, there

   were two districts located solely in Bergen County. In District 36 only 1% of

   commuters will pay the congestion charge, while 16.6% use public transportation

   and will benefit from increased funding for transit. In District 37, 1.7% of

   commuters will be subject to the charge and 21.4% would benefit from increased

   funding for transit.

         As described more fully below, Plaintiff’s failure to fund public

   transportation also results in poorer service and fewer public transportation users

   and options than there should or could be. Bergen County would particularly

   benefit from long-promised, but long delayed, investments in public transportation

   such as completing the Hudson-Bergen Light Rail Line and having one-seat train

   trips to and from the CBD. Despite its name, the Hudson-Bergen Light Rail line

   has yet to have a single station in Bergen County.6

         B.     Jersey Commuters Would Benefit from Improved MTA Services

         As more fully described in the EDF et. al. Amicus Brief and in the EA, the

   tolling program will dramatically improve subway and bus service in Manhattan.




   https://content.njtransit.com/sites/default/files/pdfs/maps/HBLR_RSM_080522_lo
   6


   w.pdf
                                             6
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           A large percentage of Jersey Commuters use public transportation once they

   arrive in the CBD. Before the pandemic, 200,000 New Jerseyans used the subway

   daily.7 The Tolling Program will improve subway and bus service in the CBD,

   benefiting those Jersey Commuters.

           C.    Jersey Commuters Would Benefit from Cleaner Air in the CBD

           As described more fully in the EDF et. al. Amicus Brief and the EA,

   congestion pricing will dramatically improve air quality in the CBD by, among

   other things, reducing toxic particulate matter by more than 10%.

           All Jersey Commuters, public transportation users and drivers alike will be

   breathing cleaner air once they arrive in the CBD, whenever they walk and

   wherever they work.

           D.    Jersey Drivers Will Benefit from Congestion Pricing

           Each of the proposed CBD Tolling Program scenarios would reduce all daily

   vehicle entries into the Manhattan CBD by 15.4 %-19.9%8 compared to the 2023

   no-action scenario. Similar reductions are forecast when compared to the 2045 no-

   action scenario.9




   7
    https://www.politico.com/news/2023/07/21/tale-of-two-transit-systems-new-
   york-new-jersey-00107388
   8
       See EA Table 4A-5.
   9
       See EA, Table 4A-12.
                                             7
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           For those choosing to continue to drive into the CBD, the Tolling Program

   will result in better and faster commutes into the CBD and faster travel and easier

   parking once they get there. It is reasonable to assume that many, if not most,

   Jersey drivers would readily pay a toll for a better and faster commute in, easier

   driving and parking once they arrived, and more time with their families.

           E.    There Will be Improved Air Quality and Less Pollution in New
                 Jersey

           The Tolling Program will produce improved air quality and less pollution in

   New Jersey as a whole.

           For example, Hudson County is projected to see reductions in all pollutants

   compared to the 2045 no-action alternative ranging from a 3.06% reduction in

   PM10 and 2.48% reduction in particulate matter 2.5 microns or less in size

   (“PM2.5”) to a 1.31% and 0.61% reduction of the ozone precursors nitrogen oxides

   (“NOx”) and volatile organic compounds (“VOCs”) respectively.10 There would

   also be reductions of 3.32 % of 1,3-butadiene, 2.0% of benzene and 3.21% of

   formaldehyde compared with the 2045 no-action alternative..11

           Plaintiff ignores such positive aspects. Plaintiff’s argument regarding

   adverse environmental impact boils down to the Tolling Program increasing

   pollution in one of New Jersey’s twenty-one counties, Bergen County. (Br. at 3).


   10
        EA Table 10-9.
   11
        EA Table 10-12.
                                              8
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   While Plaintiff suggests that other areas of New Jersey will also be negatively

   impacted (br. at 22), it provides no support for this assertion.

         Amici do not minimize any increased pollution anywhere. But the

   environmental and economic benefits of the Tolling Program for the State

   generally and the economic and environmental benefits to Bergen County and

   Bergen commuters into the CBD far outweigh any potential harm. While

   emissions are projected to increase slightly in Bergen County,12 these increases

   will keep air quality levels well below applicable NAAQS and will not generate

   any hot spots of high concentrations of air pollutants. Further, as described more

   fully in the EDF et. al. Amicus Brief, program sponsors have committed to

   implementing mitigation measures for Bergen County that will reduce the expected

   truck trips in New Jersey. Program sponsors have also committed to implementing

   place-based mitigation programs, and one community in Bergen County (Fort Lee)

   was identified as a community that may warrant place-based mitigation depending

   on the final tolling structure adopted.




   12
     Emissions increases ranging from 0.2% for VOCs to 0.74% for PM10 are
   forecasted for Bergen County in 2023 and from 0.14% to 0.67% in 2045. In 2045,
   carbon monoxide levels are forecasted to increase by 0.40% and PM10 levels are
   forecasted to increase to 0.21% in 2045. Total mobile source toxic air emissions
   were forecasted to increase by 0.7% in Bergen County in 2023. See EA Figure 10-
   14.
                                              9
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         F.    The Tolling Program is Needed for New Jersey to Meet its GHG
               Reduction Goals

         The Tolling Program is needed for New Jersey to meet its goal of reducing

   GHGs by 50% from 2006 levels by 2030 (the “50x30 Goal”).

         The 50x30 goal is mandated by both statute and executive order. Executive

   Order 274 directs all State agencies to develop strategies to accomplish New

   Jersey’s policy of reducing GHGs by 50% below 2006 levels by 2030. N.J.S.A.

   26:2C-58, part of New Jersey’s Global Warming Response Act, requires the State

   to lower GHGs in accordance with the goals established by the United States

   Climate Alliance. One of those goals is to reduce GHG emissions by at least 50-

   52% below 2005 levels by 2030.13

         37% of GHGs in New Jersey are produced by the transportation sector, by

   far the largest source of GHGs in the State.14 New Jersey is not on track to meet

   the 50x30 Goal and has no plan to meet it. Without a substantial reduction in

   GHGs from the transportation sector, the 50x30 Goal cannot be met.

         The Tolling Program could go a long way to meeting the 50x30 Goal and it

   is difficult to imagine meeting that goal without the Tolling Program.




   13
     https://usclimatealliance.org/policy-priorities/ghg-targets-governance/
   14
     https://dep.nj.gov/drivegreen/mhdv-
   contribute/#:~:text=Just%20like%20the%20nation%20as,of%20the%20state's%20
   entire%
                                            10
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         G.     The Tolling Program Will Benefit New Jersey Companies

         Plaintiff wrongly considers the Tolling Program as a zero-sum game. To the

   contrary, MTA spending has benefited New Jersey companies and the Tolling

   program will enhance those benefits.

         For the period 2018-2022, the MTA paid New Jersey companies

   $2,430,984,512 for goods and services it procured. This constituted approximately

   9% of the MTA’s total spending. 15

         Congestion pricing tolls will generate approximately $15 billion of

   additional revenue to complete the MTA’s $55 billion capital plan. Consistent

   with historical spending, New Jersey companies will likely receive more than $1

   billion in revenue generated solely from the Tolling Program.

         H.     The Tolling Program Will Incentivize the Use of Public
                Transportation and Provide Much Needed Revenue for NJT

         By discouraging private vehicles from driving into the CBD and

   encouraging greater use of public transportation, the Tolling Program will provide

   desperately needed revenue for NJ Transit (“NJT”).

         As previously noted, NJT is facing a nearly $1 billion operating shortfall in

   2026 with no plan to fill the gap.16 The Governor has refused calls to provide a


    https://data.ny.gov/Transportation/MTA-Spending-by-States-2018-2022/fxuw-
   15


   y87w
   16
     https://www.northjersey.com/story/news/transportation/2023/04/20/nj-transit-
   facing-a-nearly-billion-dollar-hole-in-2026/70131020007/
                                            11
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   dedicated funding source for NJT. This has left NJT unable to invest in needed

   capital improvements. There are more than $45 billion worth of needed

   projects in the capital plan, 80% of which do not have funding, 17 These

   include many projects that would directly benefit Bergen County such as the long-

   delayed extension of the Hudson-Bergen Light Rail line into Bergen County, the

   construction of the Bergen Loop that would allow one-seat rides into the CBD for

   Bergen County residents, Bergen County rapid bus transit and the electrification of

   Bergen County trains..18 Billions of dollars have been diverted from NJT’s Capital

   Budget to cover NJT operating expenses.19 In 2022 NJ Transit trains broke down

   twice as often as they did six years ago.20

          While NJT has innumerable capital needs, they will not increase because of

   the Tolling Program as Plaintiff suggests without a shred of evidence. Additional

   train riders, for example, will fill seats that have been empty since the pandemic at

   no additional cost. The Tolling Program will bring sorely needed revenue relief to

   NJT.


   17
       https://www.northjersey.com/story/news/transportation/2023/03/06/nj-transit-
   budget-woes-are-decades-old-will-politicians-dedicate-funds/69955351007/
   18
      https://tstc.org/wp-content/uploads/2020/04/Rail-and-Road-To-Recovery-
   Final.pdf
   19
      https://www.bloomberg.com/news/articles/2022-03-30/murphy-s-flat-nj-transit-
   fares-leave-major-projects-short-funds
   20
       https://www.northjersey.com/story/news/transportation/2023/03/06/nj-transit-
   budget-woes-are-decades-old-will-politicians-dedicate-funds/69955351007/

                                             12
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          I.     There is Wide Support for Congestion Pricing in New Jersey

          There is substantial support in New Jersey for congestion pricing and for the

   Governor to start emulating the Tolling Program, not fighting it.

          Charles Stile, a lead columnist for northjersey.com and the Bergen Record

   wrote in a column, entitled “Faux outrage over congestion tolls may be good

   politics. NJ Transit is still a mess”:21

                 The vast majority of daily New Jersey commuters, some
                 432,000 who take trains or buses to Manhattan, stand to
                 benefit from New York's new tolling plan….
                 Instead [of extolling how congestion pricing is a good
                 bargain for New Jersey mass transit riders], “we got
                 chest-thumping and wails of bluster from New Jersey
                 Democrats, who vowed not to get pushed around by the
                 Big Bad Bully across the Hudson….
                 In other words, New Jersey’s Democrats were going to
                 war with New York on behalf of a minority of driving
                 commuters who are generally high earners, hoping to
                 block a policy that benefits a majority of commuters who
                 tend to earn less money.

          Another recent December 3, 2023 Star Ledger article aptly summed up the

   situation when it wrote the following:

                 Instead of responding with lawsuits and political
                 kvetching and can-kicking, the governor can best serve
                 his state by investing in our own rail and bus systems,
                 and prevent New Jersey Transit from being slammed by a
                 $1 billion deficit in two years….

                 Gov. Kathy Hochul showed political will and took bold
                 action to begin the process of fixing a century-old
   21
      https://www.northjersey.com/story/news/columnists/charles-stile/2023/07/25/nj-
   transits-woes-are-deflected-by-congestion-tolling-lawsuit/70457287007/
                                              13
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                    subway that moves 1.7 billion people a year, while Gov.
                    Murphy seems content to watch NJ Transit get flattened
                    by a dive off a fiscal cliff.

                    The contrast is striking. The MTA is cleaning up its act
                    because Albany had an action plan, and NJ Transit is
                    about to go broke because Trenton is dozing….

                    This not the time to snarl at Albany, this is the time for
                    Trenton to follow its example, and to bolster our transit
                    network, our workforce, and our state economy….

                    Congestion pricing is on the way, it will benefit New
                    Jersey straphangers and the regional economy, and it
                    serves as a compelling reminder that it is time for our
                    state to invest in its own system.22

              Simply stated, the Tolling Program is in New Jersey’s best interests.

        II.      PLAINTIFF’S POSITIONS IN THIS ACTION DIRECTLY
                 CONFLICT WITH THE POSITIONS IT IS TAKING ON THE
                 TURNPIKE EXPANSION

              Plaintiff’s positions in this action directly conflict with its positions

   regarding NJTA’s $10.7 billion Turnpike Expansion and show Plaintiff’s

   hypocrisy in claiming that there is an environmental basis to oppose the Tolling

   Program. Plaintiff cannot have it both ways: to claim that no environment impact

   statement is required for its massive highway expansion project with undeniable

   environmental impacts, yet allege that the Tolling Program, with its undeniable

   environmental benefits, needs even more environmental scrutiny.


   22
     https://www.nj.com/opinion/2023/12/enough-whingeing-over-congestion-
   pricing-governor-do-your-job.html

                                                   14
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         Governor Murphy appoints the NJTA Board and can veto any NJTA

   action.23 For example, shortly before November’s election, the Governor vetoed a

   toll increase for the Turnpike and Garden State Parkway, even though he had

   previously authorized it.24

         In March 2020, NJTA, with the Governor’s approval, adopted a ten-year

   capital plan that calls for spending more than $16 billion to widen sections of the

   New Jersey Turnpike and Garden State Parkway all over the State.25 This is a small

   fraction of what these projects will eventually cost. The capital plan projected that

   the Turnpike Expansion would cost $4.3 billion. Amicus EmpowerNJ discovered

   that NJTA’s internal documents were projecting the cost to be $10.7 billion, a

   figure the NJTA then reluctantly confirmed.26

         The Turnpike Expansion has four phases. The first phase is to tear down

   and double the capacity of the Newark Bay Bridge (the “Bridge” or “NBB”).

   Currently, the Bridge has two lanes of traffic in each direction. NJTA’s plan is to

   build one new four lane bridge, demolish the existing bridge, and then build



   23
      N.J.S.A. 27:23-3
   24
      https://www.northjersey.com/story/news/transportation/2023/10/26/phil-
   murphy-veto-nj-turnpike-budget-toll-hike/71331512007/
   25
       https://www.njta.com/media/5832/2020_njtalongrangecapitalplan_v1-as-
   approved-may-2020.pdf
   26
      https://www.nj.com/opinion/2022/11/the-turnpike-fiasco-just-got-twice-as-bad-
   editorial.html; https://www.nj.com/news/2022/11/cost-to-widen-nj-turnpike-
   extension-to-holland-tunnel-balloons-to-106b.html
                                             15
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   another four-lane bridge so that two new bridge spans will have twice the capacity

   of the old bridge. The Bridge replacement alone will cost more than $6 billion.27

   Future phases of the Project will demolish, replace, and expand the remainder of

   the NBHCE, which runs through Bayonne and Jersey City, and ends at the Holland

   Tunnel access roads.28

         The Turnpike Expansion has generated enormous and widespread opposition

   because of the adverse environmental impacts it would create. The Jersey City

   Council unanimously adopted a resolution opposing the Turnpike Expansion,

   citing among other things, the increased GHGs and toxic pollutants it would

   generate.29 The Hoboken City Council also passed a resolution against the

   Turnpike Expansion on similar grounds.30 Numerous editorials and op-eds have

   decried the Turnpike Expansion,31 and Hudson County residents have rallied to

   oppose the plan for the same reasons.32




   27
     https://www.northjersey.com/story/news/transportation/2023/10/11/nj-turnpike-
   authority-widening-newark-jersey-city-highway/71132635007/
   28
      https://www.njta.com/media/6149/newark-bay-hudson-county-extension-fact-
   sheet_final-8-3-21.pdf
   29
      https://cityofjerseycity.civicweb.net/document/73115/
   30
      https://hobokennj.iqm2.com/Citizens/Detail_LegiFile.aspx?Frame=&MeetingID
   =2294&MediaPosition=&ID=8423&CssClass=
   31
      https://www.nj.com/opinion/2022/11/the-turnpike-fiasco-just-got-twice-as-bad-
   editorial.html
   32
      https://jcitytimes.com/activists-and-local-officials-gather-to-protest-turnpike-
   widening/
                                             16
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         The outpouring of opposition is because traffic studies and experience

   universally show that highway widenings, particularly in urban areas, only provide

   temporary, if any, reduction in traffic congestion. Ultimately, lane widening

   results in more driving and even greater long-term congestion, a phenomenon

   known as “induced demand.” Each mile of new highway lane increases capacity

   up to 2,850 vehicles/hour.33 The EPA’s Guidebook on Induced Travel concluded

   that a 10% increase in highway capacity caused an immediate 3% to 5% increase

   in VMT in 1 to 2 years and a 5% to 9% increase in VMT over 10 to 20 years.34

   There are countless examples of expanding highways increasing vehicle use and

   not relieving congestion. Los Angeles’ I-405 freeway was completed in 2014 after

   five years of construction and a cost of more than $1 billion. Traffic moved slower

   after the widening.35 When Texas in 2011 widened the Katy Freeway in Houston

   to more than 20 lanes, the widest in the world, at a cost of $2.8 billion, congestion

   returned to previous levels within a few years, and it is now worse.36



   33
      Traffic Data Computation Method Pocket Guide, USDOT (August 2018).
   https://www.fhwa.dot.gov/policyinformation/pubs/pl18027_traffic_data_pocket_g
   uide.pdf
   34
      https://nepis.epa.gov/Exe/ZyNET.exe/94004L98.txt?ZyActionD=ZyDocument&
   Client=EPA&Index=2016%20Thru%202020%7C2011%20Thru%202015%7C200
   0%20Thru%202005%7C2006%20Thru%202010%7CPrior%20to%201976%7C19
   76%20Thru%201980%7C1981%20Thru%201985%7C1986%20Thru%201990%7
   C1991%20Thru%201994%7C1995%20Thru%201999%7
   35
      https://www.vox.com/2014/10/23/6994159/traffic-roads-induced-demand.
   36
      https://cityobservatory.org/reducing-congestion-katy-didnt/
                                             17
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         Funding highway expansions relative to other strategies is “the main driver

   of emissions outcomes.”37 Rocky Mountain Institute (“RMI”) is a highly regarded

   firm dedicated to researching climate change and sustainability issues. Plaintiff

   hired and relied upon RMI in preparing its 2020 State Energy Master Plan. RMI

   summarized the failed policies of highway expansions this way:

                [R]oad expansion projects move us in the wrong
                direction, generating more traffic that increases climate
                pollution, worsens local air quality, and leads to more
                road crashes. Vulnerable and frontline communities bear
                a disproportionate burden from these impacts, including
                health effects from hazardous air pollutants.38

         While Plaintiff in this action is purportedly concerned with Fort Lee and

   George Washington Bridge traffic, it has shown no concern when it comes to the

   Turnpike Expansion. It will increase traffic on Jersey City’s local streets, which are

   already utilized as a cut-through alternative to reach the Holland Tunnel due to the

   frequent congestion at the Holland Tunnel approach.39

         The Turnpike Expansion also raises substantial environmental justice issues.

   According to an internal NJTA document, overburdened communities make up

   72.1% of the population in the 21 census tracts closest to the NBHCE and will be



   37
      https://www.georgetownclimate.org/articles/federal-infrastructure-investment-
   analysis.html
   38
      https://rmi.org/if-you-build-it-the-cars-and-the-pollution-will-come/
   39
      https://www.nj.com/opinion/2022/08/expanding-the-turnpike-will-hurt-jersey-
   city-and-the-climate-opinion.html.
                                            18
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   disproportionately harmed by the increased traffic and pollution generated by the

   Turnpike Expansion.40 A .Jersey City analysis found that most census tracts within

   a quarter mile of the NBHCE are considered as having high or very high

   concentrations of historically underserved populations, especially those tracts in

   the southeastern portion of the City.41

         Despite all this evidence, NJTA incredibly contends that an EIS is not

   required for the Turnpike Expansion. NJTA’s Bridge Application and Independent

   Utility Assessment (“IUA”) asks the United States Coast Guard (“USCG”) to

   consider the Bridge as a “stand alone” project, separate and apart from the

   remaining phases of the Turnpike Expansion and to issue an Environmental

   Assessment/Finding of No Significant Impact (EA/FONSI) regarding the Bridge

   replacement.42




   40
      July 17, 2020 Needs Assessment and Alternative Study prepared for NJTA by
   Jacobs Engineering, page 3-8
   41
      JC On the Move Final Report Appendix, https://jconthemove-
   jerseycity.hub.arcgis.com/pages/study-documents
   42
     This position blatantly violates the rule against segmentation; that in determining
   whether an EIS or EA should be prepared, an agency must examine all connected
   projects or actions. 40 CFR §1501.3(b). Further, NJTA’s contention that it “might”
   not proceed with phases 2, 3 and 4 after it completes the Bridge Replacement does
   not pass the straight face test. Its capital plan remains unchanged and it is not
   credible that NJTA would spend more than $6 billion building two new bridges
   with eight lanes only to have them feed into a four-lane highway, causing a new
   bottleneck and a traffic nightmare.
                                             19
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         This position conflicts with Plaintiff’s position in this action in a number of

   material respects and undermines the credibility of its arguments here.

         A.     Plaintiff’s Position Regarding the Turnpike Expansion is that
                Large Highway Projects and Increases in VMT Do Not Require
                an EIS

         In its Complaint and motion in this action, New Jersey argues that large and

   even small highway projects invariably require an EIS. (Br. at 12-13). According

   to the Complaint, “NEPA was enacted to address the impacts of large-scale federal

   highways…, that could harm the environment and adversely affect local

   communities.” (¶7). The “decision to forego an EIS for a proposed action that will

   affect hundreds of thousands of vehicles driving in and out of states in the New

   York metropolitan area on a daily basis stands in stark contrast to the FHWA’s

   previous decisions to conduct an EIS for far less significant proposals, such as the

   addition of a 4.3-mile vehicular travel lane near JFK Airport in 2019.” (¶5).

         This position is, of course, directly at odds with its position that demolishing

   and then building a new, expanded 8.1-mile highway through a densely populated

   urban area does not require an EIS. Plaintiff cannot have it both ways.

         Further, according to a recent NJTA filing with the New Jersey Department

   of Environmental Protection (“NJDEP”), the Bridge replacement alone will

   generate substantial additional traffic going into Jersey City and New York City. It

   projects a 32% increase in eastbound traffic, the very type of change that,


                                            20
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   according to Plaintiff, should trigger an EIS.43 These numbers are also grossly

   understated because they i) only account for the increased traffic generated by the

   Bridge replacement alone; and ii) fail to consider induced demand. Despite all

   this, NJTA maintains that no EIS is required for the Turnpike Expansion, the exact

   opposite of Plaintiff’s position in this action.

         Perhaps the most cynical and disingenuous part of New Jersey’s summary

   judgment motion is linking the Tolling Program to the destructive highway

   projects of Robert Moses, such as his bulldozing the East Tremont neighborhood in

   the Bronx to build the Cross Bronx Expressway. (Br. at 10).

         The Tolling Program is the antithesis of the Moses approach; it discourages

   driving and incentivizes public transportation. In contrast, Governor Murphy is a

   modern-day Robert Moses who is emulating the worst aspects of Moses’s legacy

   by seeking to expand the NBHCE and build Moses-style highways all over the

   State, underfunding public transportation in New Jersey, and in this action trying to

   kneecap improvements to public transportation in New York. Plaintiff is falsely

   accusing the defendants of the very practice it is engaging in elsewhere.




   43
     https://www.njta.com/media/7714/draft-environmental-impact-statement-for-
   newark-bay-hudson-county-extension-improvements-program-14-to-14a.pdf at
   pages 108-9

                                              21
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         B.     Plaintiff’s Position Regarding the Turnpike Expansion is that No
                Stakeholder Input is Required for Large Highway Projects

         Plaintiff alleges that the defendants violated NEPA by not meaningfully

   consulting with the New Jersey public and affected stakeholders throughout the

   environmental review process. (Br. at 5). It also complains that FHWA failed to

   afford New Jersey agencies a meaningful and early opportunity to engage in

   substantive meetings or dialogue regarding the potential regional impacts of the

   Tolling Program in the CBD. (Id. at 6).

         The Complaint also cites the lack of input from local communities. (“There

   was no meaningful engagement with localized groups in Orange, East Orange,

   Newark, Fort Lee and/or Bergen and Essex County—all of which are

   geographically proximate to New York City, contain large commuter populations,

   and are necessarily impacted by congestion pricing”) (¶74). Ironically, while

   Plaintiff complains that Newark and East Orange, environmental justice

   communities, were not properly consulted about the Tolling Program, one of the

   projects in NJTA’s capital plan is to expand the Garden State Parkway through the

   heart of those communities, doubling down on the devastation those communities

   initially suffered when the Parkway was first built.

         Plaintiff further complains the “FHWA did not provide public hearings as

   part of the Draft EA’s development, and instead, only held hearings after the fact,

   in direct contradiction of the purpose of NEPA.” (¶76).

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         Putting aside the innumerable opportunities for public engagement in the EA

   process, the numerous public hearings held on the Tolling Program, and the

   meetings with New Jersey officials, many of which are even described in the

   Complaint, these arguments could not be more hypocritical. Public input in

   connection with the Tolling Program was a model of transparency compared to

   what NJTA is doing in connection with the Turnpike Expansion. NJTA has

   refused to accept any meaningful public input of any kind and has ignored the

   strenuous opposition to the Project by local officials and the public. It has refused,

   for example, to have any substantive conversations with Jersey City where the bulk

   of the NBCHE is located.44 NJTA’s only plan for public “engagement” is

   supposedly to have some sort of public event in 2024 to present its plans for the

   Bridge replacement when it is already a fait accompli.

         C.     Plaintiff Will Not Consider Alternatives to the Turnpike
                Expansion

         Plaintiff contends that the MTA wrongly did not consider alternatives to the

   Tolling Program that would decrease congestion in the CBD. (Br. at 43-47).




   44
     https://www.nj.com/news/2022/11/turnpike-widening-opponents-say-report-
   boosts-case-against-47b-plan-to-add-more-lanes.html;
   https://www.nj.com/opinion/2022/11/the-turnpike-fiasco-just-got-twice-as-bad-
   editorial.html

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         However, when it comes to the Turnpike Expansion, Plaintiff refused to look

   at a host of alternatives that would reduce traffic congestion. These include i)

   investing in public transportation such as express bus lines, improving PATH

   service, and finally completing, as long promised, the Hudson-Bergen Light Rail

   Line; ii) carpooling, the very option that Plaintiff says the FWHA should have

   looked at to reduce traffic congestion (br. at 46); iii) improving freight rail service

   that would reduce truck traffic from the port area, an approach that California

   recently adopted when it rejected a long-planned highway expansion from the Port

   of Long Beach and instead authorized spending $1.5 billion to improve and expand

   rail service out of the port;45 and iv) staggering truck traffic leaving the port so that

   trucks did not use the NBCHE during rush hours when there is traffic congestion.

         NJTA’s refusal to even consider improving bus service into lower

   Manhattan as an alternative to improving traffic congestion on the NBHCE is

   particularly egregious. The decision to put an express bus lane at the Lincoln

   Tunnel in 1971 completely changed the landscape for Jersey Commuters. In its

   first full year of operation, the lane accommodated approximately 206,000 buses

   and 8.7 million passengers. The express bus lane now carries 18.5 million



   45
     https://www.asce.org/publications-and-news/civil-engineering-source/civil-
   engineering-magazine/article/2022/06/1-5b-project-will-boost-rail-capacity-at-
   port-of-long-beach

                                              24
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   passengers annually.46 In 2019, 387,186 bus passengers used the Lincoln Tunnel

   on a daily basis compared to 126,643 car, van and truck passengers.

         These percentages are reversed at the Holland Tunnel where there is no

   dedicated bus lane. There are only 21,901 bus passengers and 106,097 passengers

   using cars, trucks, and vans.47 Yet the Governor and NJTA have stubbornly

   refused to even consider any public transportation component, including dedicated

   bus lanes, as an alternative to the $10.7 billion Turnpike Expansion plan.

         A Star Ledger editorial summed up Plaintiff’s hypocrisy and “political chest

   puffing” this way:

                New Jersey has sued the federal government for allowing
                New York City’s congestion pricing plan to advance,
                shrieking that it will result in a pollution spike, a specious
                claim that will likely be consigned to history as pointless
                political chest-puffing….
                And this legal Hail Mary is just the kind of hypocrisy one
                expects from a state that fails to take cars off the road by
                expanding its own transit system….
                Meanwhile the Murphy Administration plans to pour $10
                billion into a Turnpike widening project, which will
                induce more vehicles to choke Hudson County




   46
      https://www.panynj.gov/bridges-tunnels/en/lincoln-
   tunnel/xbl.html#:~:text=Today%2C%20the%20XBL%20averages%20over,18.5%
   20million%20passengers%20a%20year
   47
      https://www.nymtc.org/Portals/0/Pdf/Hub%20Bound/2020%20Hub%20Bound/D
   M_TDS_Hub_Bound_Travel_2020.pdf?ver=7-
   8ajxAjRWKdEvXcdBYagQ%3d%3d.
                                             25
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               neighborhoods, rather than walking his talk as a climate
               hawk.48

                                   CONCLUSION

         For the reasons set forth above, Amici Curiae respectfully urge the Court to

   grant Defendants’ cross-motion for summary judgment and deny Plaintiff’s motion

   for summary judgment.

   Dated: December 15, 2023

                                         Respectfully submitted,

                                         /s/ John H. Reichman
                                         John H. Reichman
                                         Johnreichmanlaw LLC
                                         56 Oakwood Avenue
                                         Montclair, NJ 07043
                                         917.626.8025
                                         John@johnreichmanlaw.com
                                         (Bar ID # 003981983)

                                         Attorneys for Amici Curiae




   48
     https://www.nj.com/opinion/2023/07/congestion-pricing-is-coming-stop-the-
   fearmongering-editorial.html
                                           26
